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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

NORTHWEST HOME CARE, INC.,                      )
individually and on behalf of all others        )
similarly situated,                             )
                                                )
                Plaintiff,                      )     Case No. 15-cv-9923
                                                )
       v.                                       )     JURY TRIAL DEMANDED
                                                )
HENRY SCHEIN, INC., a Delaware                  )
corporation,                                    )
                                                )
                Defendant.                      )

                                CLASS ACTION COMPLAINT

       Plaintiff Northwest Home Care, Inc. (“Plaintiff”) brings this Class Action Complaint

against Defendant Henry Schein, Inc. (“Schein”), on behalf of itself and all others similarly

situated, and complains and alleges upon personal knowledge as to itself and its own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by its attorneys.

                                 I.   NATURE OF THE ACTION

       1.       Schein is a Fortune 500 company and “the world’s largest provider of health care

products and services to office-based dental, animal health and medical practitioners.”1 In an

effort to market its products and services, Schein sent unsolicited junk faxes in bulk—fax

blasts—to unwilling recipients. Fax advertising shifts the cost of the marketing promotion from

the marketer—the sender of the fax—to the unwilling recipient, and is expressly prohibited by

the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).




       1
           http://www.henryschein.com (last visited Nov. 3, 2015).
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        2.     Schein did not obtain prior express permission or invitation from Plaintiff and the

Class members to send them faxes.

        3.     Neither Plaintiff nor the other Class members ever consented, authorized, desired

or permitted Schein to send them faxes.

        4.     In order to redress these injuries, Plaintiff seeks an injunction requiring Schein to

cease all unsolicited faxing activities, an award of statutory damages to the Class members under

the TCPA, and an award of actual damages for common law conversion, together with costs and

attorneys’ fees.

                               II.   JURISDICTION AND VENUE

Subject Matter Jurisdiction

        5.     This Court has original jurisdiction over Count I, pursuant to 28 U.S.C. § 1331,

because it arises under the laws of the United States.

        6.     The Court has supplemental jurisdiction over Count II, pursuant to 28 U.S.C.

§ 1367, because Schein’s conduct forms part of the same case or controversy as to Count I.

Personal Jurisdiction

        7.     This Court has personal jurisdiction over Schein, pursuant to the Illinois long-arm

statute, 735 ILCS 5/2-209, because a substantial portion of the wrongdoing alleged in this

Complaint took place in or was directed toward the State of Illinois. Schein, by sending junk

faxes in bulk into this State soliciting business, has sufficient contacts in this State to render the

exercise of jurisdiction by this Court permissible.

Venue

        8.     Venue is proper in this District, pursuant to 28 U.S.C. § 1391(b)(2), because a

substantial part of the events giving rise to the claims occurred in this District.




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                                         III.    PARTIES

Plaintiff

         9.     Plaintiff is a corporation organized in and existing under the laws of the State of

Illinois with its principal place of business located in Cook County, Illinois.

Defendant

         10.    Schein is a corporation organized in and existing under the laws of the State of

Delaware with its principal place of business located at 135 Duryea Road, Melville, New York

11747.

         11.    Schein maintains a registered agent at: Corporation Service Company, 80 State

Street, Albany, New York 12207.

                               IV.    FACTUAL BACKGROUND

Schein’s Faxes Promote Products And Services

         12.    On or about July 21, 2013, Plaintiff received the unsolicited fax advertisement

attached as Exhibit A.

         13.    The fax purports that it was sent to “Allan Aven,” but Plaintiff is not aware of

anyone named Allan Aven.

         14.    Schein’s fax advertises “primacy care fax specials,” including several drugs and

vaccinations.

         15.    Schein’s fax also invites recipients to view its website, www.henryschein.com,

“for all your flu season needs.”

         16.    Schein’s products or services were advertised in the fax and the website.

         17.    Schein receives a commercial benefit from the promotion and sale of the products

and services advertised in the fax and on the website.




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       18.      Schein derived economic benefit from the transmission of the faxes.

       19.      Schein sent the faxes and/or is responsible, as a matter of law, for the actions of

the individuals who sent the faxes.

Schein’s Faxes Were Part Of Fax Blasts

       20.      Schein’s faxes were designed using a uniform template.

       21.      Under the TCPA, an “established business relationship” is a defense that Schein

must prove,2 but Schein did not have an established business relationship with Plaintiff or any

other member of the Class prior to sending fax advertisements.

       22.      Schein does not have a record showing an established business relationship with

Plaintiff or other members of the Class.

       23.      Under the TCPA, prior express invitation or permission is a defense that Schein

must prove,3 but Schein did not obtain prior express invitation or permission from Plaintiff or the

Class to be sent fax advertisements.

       24.      Schein does not have a record showing that it obtained prior express invitation or

permission from Plaintiff or the Class.

       25.      On information and belief, the fax attached as Exhibit A was transmitted as part

of mass broadcastings, or “blasts,” of faxes.

       26.      Accordingly, Schein sent fax advertisements to Plaintiff and the Class as a part of

fax blasts without prior express invitation or permission and without an established business

relationship.




       2
          See CE Design, Ltd. v. Prism Bus. Media, Inc., 606 F.3d 443, 451 (7th Cir. 2010)
(discussing the applicability of the “EBR defense”).
       3
         See CE Design Ltd. v. King Architectural Metals, Inc., 637 F.3d 721, 725 (7th Cir.
2011) (considering whether the “defense [] of consent to be faxed ads” applies).


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                                    V.   CLASS ALLEGATIONS

       27.     Plaintiff bring Counts I and II, as set forth below, on behalf of itself and as a class

action pursuant to the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil

Procedure on behalf of a class defined as:

                              Unsolicited Fax Class (the “Class”)
               All individuals or entities in the United States who were sent one
               or more unsolicited facsimile advertisements from or on behalf of
               Henry Schein, Inc.

Excluded from the Class are Schein and its subsidiaries and affiliates; all persons who make a

timely election to be excluded from Class One; governmental entities; and the judge to whom

this case is assigned and any immediate family members thereof.

       28.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of its claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

       29.     Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members of the

Class are so numerous that individual joinder of all Class members is impracticable. On

information and belief, there are thousands of consumers and recipients who have been damaged

by Schein’s wrongful conduct as alleged herein. The precise number of Class members and their

addresses is presently unknown to Plaintiff, but may be ascertained from Schein’s books and

records. Class members may be notified of the pendency of this action by recognized, Court-

approved notice dissemination methods, which may include U.S. mail, electronic mail, Internet

posting, and/or published notice.

       30.     Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and facts, which predominate over

any questions affecting individual Class members, including, without limitation:



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             a. whether Schein engaged in a pattern of sending unsolicited fax advertisements as
                alleged herein;

             b. the manner in which Schein compiled or obtained their list of fax numbers;

             c. whether Schein’s faxes constitute advertisements under the TCPA;

             d. whether Plaintiff and the Class are entitled to actual, statutory, or other form of
                damages, and other monetary relief and, in what amount(s);

             e. whether Plaintiff and the Class are entitled to treble damages based on the
                willfulness of Schein’s conduct; and

             f. whether Plaintiff and the Class are entitled to equitable relief, including but not
                limited to injunctive relief and restitution.

       31.      Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of the other Class members’ claims because, among other things, all Class members were

comparably injured through the uniform prohibited conduct described above.

       32.      Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate representative of the Class because its interests do not conflict with the

interests of the other Class members it seeks to represent; it has retained counsel competent and

experienced in complex commercial and class action litigation; and Plaintiff intends to prosecute

this action vigorously. The interests of the Class members will be fairly and adequately protected

by the Plaintiff and its counsel.

       33.      Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

Schein has acted or refused to act on grounds generally applicable to Plaintiff and the other Class

members, thereby making appropriate final injunctive relief and declaratory relief, as described

below, with respect to the Class as a whole.

       34.      Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,




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and no unusual difficulties are likely to be encountered in the management of this class action.

The damages or other financial detriment suffered by Plaintiff and the other Class members are

relatively small compared to the burden and expense that would be required to individually

litigate their claims against Schein, so it would be impracticable for Class members to

individually seek redress for Schein’s wrongful conduct. Even if Class members could afford

individual litigation, the court system could not. Individualized litigation creates a potential for

inconsistent or contradictory judgments, and increases the delay and expense to all parties and

the court system. By contrast, the class action device presents far fewer management difficulties,

and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.

                                  VI.     CLAIMS ALLEGED

                                           COUNT I
                            Violation of the TCPA, 47 U.S.C. § 227
                                   (On Behalf Of The Class)

       35.     Plaintiff incorporates by reference paragraphs 1-34 as if fully set forth herein.

       36.     Schein and/or its agents used a telephone facsimile machine, computer or other

device to send unsolicited advertisements to a telephone facsimile machine, in violation of the

TCPA, 47 U.S.C. § 227(b)(l)(C).

       37.     On information and belief, these unsolicited advertisements were transmitted en

masse without the prior express consent of Plaintiff and the Class.

       38.     As a result of Schein’s unlawful conduct, Plaintiff and the Class suffered actual

damages and, under Section 227(b)(3), are entitled to recover for actual monetary loss from such a

violation, or to receive at least $500 in damages for each such violation, whichever is greater, or

both such actions.




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                                          COUNT II
                                          Conversion
                                    (On Behalf Of The Class)

       39.     Plaintiff incorporates by reference paragraphs 1-34 as if fully set forth herein.

       40.     By sending unsolicited faxes to Plaintiff and the other Class members, Schein

converted to its own use Plaintiff’s and the other Class One members’ paper, ink or toner, and

their fax machines’ components.

       41.     When Plaintiff’s and the other Class members’ fax machines printed the

unsolicited faxes, their fax machines’ components, ink or toner, and paper were used.

       42.     This loss of use constitutes an asset of economic value paid for by Plaintiff and

the other Class members when they acquired their fax machines and its ink or toner.

       43.     Immediately prior to the sending of the unsolicited faxes, Plaintiff and the Class

members owned and had an unqualified and immediate right to the possession of the paper, ink

or toner, and the components of the fax machines used to print the faxes.

       44.     By sending the unsolicited faxes, Schein appropriated to its own use the paper and

ink or toner used to print the faxes and used them in such manner as to make them unusable.

       45.     Furthermore, Plaintiff’s and the Class’ fax machine components suffered wear

and tear when they were appropriated by Schein to print its unsolicited faxes.

       46.     Such appropriation was wrongful and without authorization.

       47.     Schein knew or should have known that such appropriation of the paper, ink or

toner, and fax machine components was wrongful and without authorization.

       48.     Plaintiff and the other Class members were deprived of the paper, ink or toner,

performance of their fax machines’ components.




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       49.     Accordingly, Plaintiff and the other Class members suffered damages as a result

of receiving the unsolicited faxes.

                                       VII.   JURY DEMAND

       50.     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by

jury of all claims in this Complaint so triable.

                               VIII.      REQUEST FOR RELIEF

       WHEREFORE, Plaintiff Northwest Home Care, Inc., individually and on behalf of the

Class, requests that the Court enter an Order as follows:

       A.     Certifying the Class as defined above, appointing Plaintiff Northwest Home Care,
              Inc. as the representative of the Class, and appointing its counsel as Class Counsel;

       B.     Awarding actual or statutory damages;

       C.     Enjoining Schein from sending unsolicited facsimile advertisements;

       D.     Awarding of reasonable attorneys’ fees and costs; and

       E.     Awarding such other and further relief that the Court deems reasonable and just.




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Dated: November 6, 2015                              Respectfully submitted,

                                                     NORTHWEST HOME CARE, INC.,
                                                     individually and on behalf of all
                                                     others similarly situated

                                                     By: s/ Joseph J. Siprut

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